Case 2:19-bk-52861        Doc 154    Filed 07/18/24 Entered 07/18/24 09:09:12            Desc Main
                                    Document     Page 1 of 52



                            UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION

 In re:                                        :       Case No. 19-52861
                                               :
          Jose R. Villavicencio,               :       Chapter 7
                                               :
                         Debtor.               :       Judge Hoffman

  MOTION OF CHAPTER 7 TRUSTEE FOR AUTHORITY TO SELL REAL ESTATE
 LOCATED AT (1) 5465 HANSEL AVENUE, UNIT H-11 OF CAMELOT BY THE LAKE,
 ORLANDO, FLORIDA, AND (2) 5449 HANSEL AVENUE, UNIT M-17, OF CAMELOT
   BY THE LAKE, ORLANDO, FLORIDA, FREE AND CLEAR OF ALL CLAIMED
                   LIENS, INTERESTS OR ENCUMBRANCES

          Myron N. Terlecky, the Chapter 7 Trustee (the “Trustee”) for the bankruptcy estate of Jose

 R. Villavicencio, hereby moves this Court pursuant to 11 U.S.C. §363(b)(1) and (f)(1)(3) and (5)

 and (h) and (j), Rule 6004(c) of the Rules of Bankruptcy Procedure and Local Bankruptcy Rule

 6004-1 for an Order authorizing him to sell certain real estate located at (1) 5465 Hansel Avenue

 Unit H-11, of Camelot by The Lake, Orlando, Florida and located at (2) 5449 Hansel Avenue Unit

 M-17, of Camelot by The Lake, Orlando, Florida, free and clear of all claimed liens, claims or

 encumbrances on the terms set forth herein. A Memorandum in Support follows.

                                        Respectfully submitted,


                                          /s/ Myron N. Terlecky
                                        Myron N. Terlecky (0018628)
                                        John W. Kennedy (0042672)
                                        Strip, Hoppers, Leithart, McGrath & Terlecky Co., LPA
                                        575 South Third Street
                                        Columbus, OH 43215
                                        T: (614) 228-6345 F: (614) 228-6369
                                        Email: mnt@columbuslawyer.net
                                                jwk@columbuslawyer.net
                                        Attorneys for Chapter 7 Trustee




                                                   1
Case 2:19-bk-52861       Doc 154    Filed 07/18/24 Entered 07/18/24 09:09:12            Desc Main
                                   Document     Page 2 of 52



                                MEMORANDUM IN SUPPORT

 A.      BACKGROUND

         1.     Jose R. Villavicencio (the “Debtor”) filed a voluntary petition for relief under

 Chapter 7 of the Bankruptcy Code on May 1, 2019 (the “Petition Date”).

         2.     Myron N. Terlecky is the duly appointed Chapter 7 Trustee herein.

         3.     The Debtor has an interest in the following real estate that is property of the

 bankruptcy estate:

         a.     The real estate located at 5465 Hansel Avenue Unit H-11, of Camelot by The Lake,

 Orlando, Florida, which is a two-bedroom condominium, that the Debtor valued at $50,000 (See,

 Schedules, Doc. 1) (the “5465 Hansel Real Estate”). A copy of the legal description of the 5465

 Hansel Real Estate is attached hereto as Exhibit A; and,

         b.     The real estate located at 5449 Hansel Avenue Unit M-17, of Camelot by The Lake,

 Orlando, Florida, which is a one-bedroom condominium, that the Debtor valued at $90,000 See,

 Schedules, Doc. 1) (the “5449 Hansel Real Estate”; collectively, with the 5465 Hansel Real Estate,

 the “Real Estate”)). A copy of the legal description of the 5449 Hansel Real Estate is attached

 hereto as Exhibit B.

         4.     The Trustee employed Christine Bowen of RE/MAX Town & County Realty (the

 “Realtor”) to list the Real Estate for sale. See, Order Granting Application to Employ Christine

 Bowen of RE/MAX Town & County Realty as Realtor (Doc. 141), entered on May 1, 2024 (Doc.

 144).

         5.     Other than real estate taxes and unpaid condominium association fees, the only

 other party claiming a lien against the Real Estate is Verna R. Coward and Verna R. Coward,

 Administrator of the Estate of Frederick N. Coward (See, Claim 9 on the Claims register in this



                                                 2
Case 2:19-bk-52861        Doc 154     Filed 07/18/24 Entered 07/18/24 09:09:12            Desc Main
                                     Document     Page 3 of 52



 case) (the “Coward Claim”). The Trustee has reached an agreement, subject to the approval of

 this Court pursuant to Rule 9019 of the Rules of Bankruptcy Procedure, for an equal division of

 the net proceeds from the sale of the Real Estate with the Coward Claim (the “Coward

 Compromise”). A motion to approve the Coward Compromise will be filed contemporaneously

 with, or near, the filing of this motion.

         5       The Realtor has received offers to purchase the Real Estate, the condition of which

 can best be described as challenging. There are squatters occupying the Real Estate. The Truste

 has located counsel in Florida to evict the squatters. However, the prospective purchasers of the

 Real Estate have agreed to purchase the Real Estate in its current condition.

         6.      The highest and best offer to purchase the 5465 Hansel Real Estate is from Graziella

 Hediger and Andreas Hediger for the sum of $129,000.00. A copy of the purchase contract to

 purchase the 5465 Hansel Real Estate (the “Contract”) is attached hereto as Exhibit C.

         7.      The highest and best offer to purchase the 5449 Hansel Real Estate is from Graziella

 Hediger and Andreas Hediger for the sum of $106,000.00. A copy of the purchase contract to

 purchase the 5449 Hansel Real Estate (the “Contract”) is attached hereto as Exhibit D.

         8.      The Trustee believes it is in the best interest of the bankruptcy estate to sell the

 5465 Hansel Real Estate to Graziella Hediger and Andreas Hediger for the sum of $129,000.00

 and to sell the 5449 Hansel Real Estate to Graziella Hediger and Andreas Hediger for the sum of

 $106,000.00. The Trustee believes that the sale of the Real Estate is for a reasonable price given

 their condition. The Trustee has exercised his business judgment and determined that the sale

 price for the 5465 Hansel Real Estate and for the 5449 Hansel Real Estate, for which approval is

 sought, is in the best interest of the bankruptcy estate.




                                                    3
Case 2:19-bk-52861         Doc 154     Filed 07/18/24 Entered 07/18/24 09:09:12                   Desc Main
                                      Document     Page 4 of 52



         9.      The Trustee seeks authorization, subject to further Order of this Court, to distribute

 the proceeds of sale in order of priority, and to hold the proceeds attributable to the Coward Claim

 pending approval of agreement reached.

 B.      LAW AND ARGUMENT

         The Trustee is authorized to sell property of the estate, other than in the ordinary course of

 business, pursuant to 11 U.S.C. §363(b)(1). Property, under certain circumstances, may be sold

 free and clear of any interest in the property other than an interest of the estate. 11 U.S.C.

 §363(f)(3). Bankruptcy Code §363(f) provides:

         The trustee may sell property under subsection (b) or (c) of this section free and
         clear of any interest in such property of an entity other than the estate, only if—
                 (1)     applicable nonbankruptcy law permits sale of such property free and
                 clear of such interest;
                 (2)     such entity consents;
                 (3)     such interest is a lien and the price at which such property is to be
                 sold is greater than the aggregate value of all liens on such property;
                 (4)     such interest is in bona fide dispute; or
                 (5)     such entity could be compelled, in a legal or equitable proceeding,
                 to accept a money satisfaction of such interest.

         11 U.S.C. §363(f)(1) allows the Trustee to sell property free and clear of any interest if

 nonbankruptcy law permits such a sale. 11 U.S.C. §363(f)(2) allows the Trustee to sell property

 free and clear of any interest if such entity consents. 11 U.S.C. §363(f)(3) allows the Trustee to

 sell property of the estate if the interest of an entity is a lien and the lien is to be paid.

         In this case, unpaid real estate taxes and unpaid condominium association fees will be paid

 in full from the sale of 5465 Hansel Real Estate and from the sale of 5449 Hansel Real Estate.

 Applicable nonbankruptcy law, in this case a Florida state court foreclosure proceeding, would

 permit the sale of the Real Estate free and clear of the Coward Claim. Subject to approval of the

 Court, the Coward Compromise satisfies the provision of 11 U.S.C. §363(f)(2).




                                                      4
Case 2:19-bk-52861        Doc 154    Filed 07/18/24 Entered 07/18/24 09:09:12             Desc Main
                                    Document     Page 5 of 52



        From the proceeds of sale, the following will be paid: (1) customary closing costs,

 including realtor’s commission, subject to Court approval in accordance with 11 U.S.C. 330; (2)

 the unpaid real estate taxes due the Orange County Tax Collector and unpaid condominium

 association fees; (3) half (1/2) of the net proceeds will be paid to the Coward Claim, subject to

 approval of the Coward Compromise; and, (4) one-half (1/2) of the proceeds payable to the

 Trustee. In the event the Coward Compromise is not approved, the proceeds will be held pending

 further order of this Court.

        For the reasons set forth above, the Trustee submits that the proposed sale price is

 appropriate, and it is in the best interest of the bankruptcy estate. By proceeding in this fashion,

 the creditors will receive a distribution, albeit minimal, but it more than they would have received

 otherwise.

        C.      CONCLUSION

        Based upon the foregoing, the Trustee respectfully requests that the Court issue an Order

 granting the following relief:

        1.      That the Trustee be authorized pursuant to 11 U.S.C. §363(b)(1) and (f)(1)(2) and

 (3), to sell, subject to better and higher offer, the 5465 Hansel Real Estate to Graziella Hediger

 and Andreas Hediger for the sum of $129,000.00, free and clear of any and all claimed liens,

 interests or encumbrances; and

        2.      That the Trustee be authorized pursuant to 11 U.S.C. §363(b)(1) and (f)(1)(2) and

 (3), to sell, subject to better and higher offer, the 5449 Hansel Real Estate to Graziella Hediger

 and Andreas Hediger for the sum of $106,000.00, free and clear of any and all claimed liens,

 interests or encumbrances; and




                                                  5
Case 2:19-bk-52861       Doc 154    Filed 07/18/24 Entered 07/18/24 09:09:12               Desc Main
                                   Document     Page 6 of 52



        3.      That the Trustee be authorized to pay the expenses of sale from the proceeds of

 sale, with any professional fees subject to further Order of the Court; and

        4.      That the Trustee be authorized to distribute one-half (1/2) of the net proceeds to the

 Coward Claim, subject to further order of the Court; or in the alternative, to hold the proceeds

 attributable to the Coward Claim, subject to further order of the Court; and

        5.      That the Court grant such other and further relief as is appropriate

                                       Respectfully submitted,


                                         /s/ Myron N. Terlecky
                                       Myron N. Terlecky (0018628)
                                       John W. Kennedy (0042672)
                                       Strip, Hoppers, Leithart, McGrath & Terlecky Co., LPA
                                       575 South Third Street
                                       Columbus, OH 43215
                                       T: (614) 228-6345 F: (614) 228-6369
                                       Email: mnt@columbuslawyer.net
                                               jwk@columbuslawyer.net
                                       Attorneys for Chapter 7 Trustee




                                                  6
Case 2:19-bk-52861   Doc 154    Filed 07/18/24 Entered 07/18/24 09:09:12   Desc Main
                               Document     Page 7 of 52
Case 2:19-bk-52861   Doc 154    Filed 07/18/24 Entered 07/18/24 09:09:12   Desc Main
                               Document     Page 8 of 52
Case 2:19-bk-52861   Doc 154    Filed 07/18/24 Entered 07/18/24 09:09:12   Desc Main
                               Document     Page 9 of 52
Case 2:19-bk-52861   Doc 154 Filed 07/18/24 Entered 07/18/24 09:09:12   Desc Main
                            Document    Page 10 of 52
Case 2:19-bk-52861   Doc 154 Filed 07/18/24 Entered 07/18/24 09:09:12   Desc Main
                            Document    Page 11 of 52




                     EXHIBIT C
Case 2:19-bk-52861   Doc 154 Filed 07/18/24 Entered 07/18/24 09:09:12   Desc Main
                            Document    Page 12 of 52
Case 2:19-bk-52861   Doc 154 Filed 07/18/24 Entered 07/18/24 09:09:12   Desc Main
                            Document    Page 13 of 52
Case 2:19-bk-52861   Doc 154 Filed 07/18/24 Entered 07/18/24 09:09:12   Desc Main
                            Document    Page 14 of 52
Case 2:19-bk-52861   Doc 154 Filed 07/18/24 Entered 07/18/24 09:09:12   Desc Main
                            Document    Page 15 of 52
Case 2:19-bk-52861   Doc 154 Filed 07/18/24 Entered 07/18/24 09:09:12   Desc Main
                            Document    Page 16 of 52
Case 2:19-bk-52861   Doc 154 Filed 07/18/24 Entered 07/18/24 09:09:12   Desc Main
                            Document    Page 17 of 52
Case 2:19-bk-52861   Doc 154 Filed 07/18/24 Entered 07/18/24 09:09:12   Desc Main
                            Document    Page 18 of 52
Case 2:19-bk-52861   Doc 154 Filed 07/18/24 Entered 07/18/24 09:09:12   Desc Main
                            Document    Page 19 of 52
Case 2:19-bk-52861   Doc 154 Filed 07/18/24 Entered 07/18/24 09:09:12   Desc Main
                            Document    Page 20 of 52
Case 2:19-bk-52861   Doc 154 Filed 07/18/24 Entered 07/18/24 09:09:12   Desc Main
                            Document    Page 21 of 52
Case 2:19-bk-52861   Doc 154 Filed 07/18/24 Entered 07/18/24 09:09:12   Desc Main
                            Document    Page 22 of 52
Case 2:19-bk-52861   Doc 154 Filed 07/18/24 Entered 07/18/24 09:09:12   Desc Main
                            Document    Page 23 of 52
Case 2:19-bk-52861   Doc 154 Filed 07/18/24 Entered 07/18/24 09:09:12   Desc Main
                            Document    Page 24 of 52
Case 2:19-bk-52861   Doc 154 Filed 07/18/24 Entered 07/18/24 09:09:12   Desc Main
                            Document    Page 25 of 52
Case 2:19-bk-52861   Doc 154 Filed 07/18/24 Entered 07/18/24 09:09:12   Desc Main
                            Document    Page 26 of 52
Case 2:19-bk-52861   Doc 154 Filed 07/18/24 Entered 07/18/24 09:09:12   Desc Main
                            Document    Page 27 of 52
Case 2:19-bk-52861   Doc 154 Filed 07/18/24 Entered 07/18/24 09:09:12   Desc Main
                            Document    Page 28 of 52
Case 2:19-bk-52861   Doc 154 Filed 07/18/24 Entered 07/18/24 09:09:12   Desc Main
                            Document    Page 29 of 52
Case 2:19-bk-52861   Doc 154 Filed 07/18/24 Entered 07/18/24 09:09:12   Desc Main
                            Document    Page 30 of 52
Case 2:19-bk-52861   Doc 154 Filed 07/18/24 Entered 07/18/24 09:09:12   Desc Main
                            Document    Page 31 of 52




                     EXHIBIT D
Case 2:19-bk-52861   Doc 154 Filed 07/18/24 Entered 07/18/24 09:09:12   Desc Main
                            Document    Page 32 of 52
Case 2:19-bk-52861   Doc 154 Filed 07/18/24 Entered 07/18/24 09:09:12   Desc Main
                            Document    Page 33 of 52
Case 2:19-bk-52861   Doc 154 Filed 07/18/24 Entered 07/18/24 09:09:12   Desc Main
                            Document    Page 34 of 52
Case 2:19-bk-52861   Doc 154 Filed 07/18/24 Entered 07/18/24 09:09:12   Desc Main
                            Document    Page 35 of 52
Case 2:19-bk-52861   Doc 154 Filed 07/18/24 Entered 07/18/24 09:09:12   Desc Main
                            Document    Page 36 of 52
Case 2:19-bk-52861   Doc 154 Filed 07/18/24 Entered 07/18/24 09:09:12   Desc Main
                            Document    Page 37 of 52
Case 2:19-bk-52861   Doc 154 Filed 07/18/24 Entered 07/18/24 09:09:12   Desc Main
                            Document    Page 38 of 52
Case 2:19-bk-52861   Doc 154 Filed 07/18/24 Entered 07/18/24 09:09:12   Desc Main
                            Document    Page 39 of 52
Case 2:19-bk-52861   Doc 154 Filed 07/18/24 Entered 07/18/24 09:09:12   Desc Main
                            Document    Page 40 of 52
Case 2:19-bk-52861   Doc 154 Filed 07/18/24 Entered 07/18/24 09:09:12   Desc Main
                            Document    Page 41 of 52
Case 2:19-bk-52861   Doc 154 Filed 07/18/24 Entered 07/18/24 09:09:12   Desc Main
                            Document    Page 42 of 52
Case 2:19-bk-52861   Doc 154 Filed 07/18/24 Entered 07/18/24 09:09:12   Desc Main
                            Document    Page 43 of 52
Case 2:19-bk-52861   Doc 154 Filed 07/18/24 Entered 07/18/24 09:09:12   Desc Main
                            Document    Page 44 of 52
Case 2:19-bk-52861   Doc 154 Filed 07/18/24 Entered 07/18/24 09:09:12   Desc Main
                            Document    Page 45 of 52
Case 2:19-bk-52861   Doc 154 Filed 07/18/24 Entered 07/18/24 09:09:12   Desc Main
                            Document    Page 46 of 52
Case 2:19-bk-52861   Doc 154 Filed 07/18/24 Entered 07/18/24 09:09:12   Desc Main
                            Document    Page 47 of 52
Case 2:19-bk-52861   Doc 154 Filed 07/18/24 Entered 07/18/24 09:09:12   Desc Main
                            Document    Page 48 of 52
Case 2:19-bk-52861       Doc 154 Filed 07/18/24 Entered 07/18/24 09:09:12                 Desc Main
                                Document    Page 49 of 52



 NOTICE OF MOTION OF CHAPTER 7 TRUSTEE FOR AUTHORITY TO SELL REAL
  ESTATE LOCATED AT (1) 5465 HANSEL AVENUE, UNIT H-11 OF CAMELOT BY
 THE LAKE, ORLANDO, FLORIDA, AND (2) 5449 HANSEL AVENUE, UNIT M-17, OF
   CAMELOT BY THE LAKE, ORLANDO, FLORIDA, FREE AND CLEAR OF ALL
             CLAIMED LIENS, INTERESTS OR ENCUMBRANCES
                    AND CERTIFICATE OF SERVICE

         The Chapter 7 Trustee has filed papers with the court seeking the authority to sell property
 of the estate.

 Your rights may be affected. You should read these papers carefully and discuss them with your
 attorney, if you have one in this bankruptcy case. (If you do not have an attorney, you may wish
 to consult one.)

 If you do not want the court to grant the relief sought in the Motion, then on or before twenty-
 one (21) days from the date set forth in the certificate of service for the Motion, you or your
 attorney must file with the court a response explaining your position by mailing your response by
 first class U.S. Mail to Clerk, United States Bankruptcy Court, 170 North High Street, Columbus,
 Ohio 43215, OR your attorney must file a response using the court's ECF system.

 The Chapter 7 Trustee has filed a Motion to Reduce this 21 day period to 10 days. If the
 Court grants this Motion, you will receive Notice of the Date by which you need to file your
 response.

 The Court must receive your response on or before the date set forth above.

 You must also send a copy of your response either by 1) the court's ECF System, or by 2) first
 class U.S. Mail to:

  United States Trustee                 Myron N. Terlecky, Esq.
  170 North High Street, Suite 200      Strip, Hoppers, Leithart, McGrath & Terlecky Co., LPA
  Columbus, Ohio 43215                  575 South Third Street
                                        Columbus, Ohio 43215

 If you or your attorney do not take these steps, the court may decide that you do not oppose the
 relief sought in the Motion and may enter an order granting that relief.




                                                  7
Case 2:19-bk-52861       Doc 154 Filed 07/18/24 Entered 07/18/24 09:09:12                  Desc Main
                                Document    Page 50 of 52



                                  CERTIFICATE OF SERVICE

         I hereby certify that a copy of the foregoing MOTION OF CHAPTER 7 TRUSTEE FOR
 AUTHORITY TO SELL REAL ESTATE LOCATED AT (1) 5465 HANSEL AVENUE, UNIT
 H-11 OF CAMELOT BY THE LAKE, ORLANDO, FLORIDA, AND (2) 5449 HANSEL
 AVENUE, UNIT M-17, OF CAMELOT BY THE LAKE, ORLANDO, FLORIDA, FREE AND
 CLEAR OF ALL CLAIMED LIENS, INTERESTS OR ENCUMBRANCES was served (i)
 electronically on the date of filing through the court's ECF system on all ECF participants
 registered in the case at the email addresses registered with the court, and (ii) by first class U.S.
 mail on July 18, 2024, addressed to those parties listed on the attached mailing matrix and
 addressed to the additional parties as set forth below:

 Jose Villavicencio
 669 South 22nd Street
 Columbus, OH 43205

 Christine Bowen
 RE/MAX Town & Country Realty
 1315 Tuskawilla Rd., Ste. 101
 Winter Springs, FL 32708

 Chris Creegan
 Creegan Property Group
 439 Lake Howell Rd.
 Maitland, FL 32751
 Realtor for Graziella Hediger and Andreas Hediger

         The attached mailing matrix was provided by the Bankruptcy Court’s CM/ECF Service.
 Service was made upon both preferred and non-preferred addresses (preferred addresses are
 marked with “(p)”). Service was not made upon entities with similar names at identical addresses.
 Though listed in the matrix, a copy of this document was not sent to the United Stated Bankruptcy
 Court, John W. Kennedy nor Myron N. Terlecky.



                                                         /s/ Myron N Terlecky
                                                       Myron N. Terlecky (0018628)




                                                  8
              Case 2:19-bk-52861   Doc 154 Filed 07/18/24 Entered 07/18/24 09:09:12 Desc Main
Label Matrix for local noticing         RentDocument
                                             Due LLC  Page 51 of 52        AFFILIATED TAX CO LLC -17
0648-2                                  c/o Maria Mariano Guthrie             US Bank/Affiliated Tax Co LLC
Case 2:19-bk-52861                      Kegler, Brown, Hill & Ritter          PO Box 645040
Southern District of Ohio               65 E. State Street, Ste. 1800         Cincinnati OH 45264-0303
Columbus                                Columbus, OH 43215-4294
Tue Jul 16 14:10:31 EDT 2024
(p)AMERICAN ELECTRIC POWER              Asst US Trustee (Col)                 (p)OHIO ATTORNEY GENERAL
ATTN JASON E REID                       Office of the US Trustee              COLLECTIONS ENFORCEMENT ATTN BANKRUPTCY MANAG
1 RIVERSIDE PLAZA 13TH FLOOR            170 North High Street                 30 E BROAD ST
COLUMBUS OH 43215-2373                  Suite 200                             14TH FLOOR
                                        Columbus, OH 43215-2417               COLUMBUS OH 43215-3414

(p)BANK OF AMERICA                      Bank of America, N.A.                 City of Columbus Attorney
PO BOX 982238                           P O Box 982284                        90 W. Broad St. Room 200
EL PASO TX 79998-2238                   El Paso, TX 79998-2284                Columbus, OH 43215-9013



(p)COLUMBIA GAS                         Enhanced Recovery Corp                Franklin County Treasurer
290 W NATIONWIDE BLVD 5TH FL            8014 Bayberry Rd                      373 S. High St. 17th Floor
BANKRUPTCY DEPARTMENT                   Jacksonville, FL 32256-7412           Columbus, OH 43215-4591
COLUMBUS OH 43215-4157


Graf & McGovern LPA                     Internal Revenue Service              Law Office of Manbir Sandhu
604 E. Rich St.                         PO Box 7346                           1213 Prospect Ave. #300
Columbus, OH 43215-5341                 Philadelphia, PA 19101-7346           Cleveland, OH 44115-1260



Mishkind Kulwicki Law Co                (p)NATIONSTAR MORTGAGE LLC            Ohio Department of Taxation
23240 Chagrin Blvd.                     PO BOX 619096                         Bankruptcy Division
Ste 101 Commerce Park IV                DALLAS TX 75261-9096                  P.O. Box 530
Beachwood, OH 44122-5482                                                      Columbus, OH 43216-0530


Shapero & Green LLC                     TLOA Acquisitions, LLC - Series 2     TLOA Servicing LLC
25101 Chagrin Blvd. #220                11 Talcott Notch Road                 11 Talcott Notch Rd.
Beachwood, OH 44122-5656                Farmington, CT 06032-1817             Farmington, CT 06032-1817



Tax Ease Ohio, LLC                      US Attorney General                   US Bank as Customer
14800 Landmark Blvd., Suite 400         Main Justice Bldg, Room 5111          c/o Liege Tax Liens LLC 18
Dallas, TX 75254-7598                   10th & Constitutional Avenue NW       P.O. Box 645040
                                        Washington, DC 20530-0001             Cincinnati, OH 45264-0303


US District Attorney                    Verna Coward                          Verna Coward
303 Marconi Blvd                        16250 Flint Ridge Rd. South           Verna & Craig Coward, Admin.
Columbus, OH 43215-2839                 Newark, OH 43056-9457                 25101 Chagrin Blvd. #220
                                                                              Beachwood, Oh 44122-5656


Verna Coward                            Verna R. Coward                       Weltman Weinberg & Reis
Verna & Craig Coward, Admins            Adm Est.Frederick Coward, Jr.         3705 Marlane Dr.
Estate of Frederick Coward              25101 Chagrin Blvd #220               Grove City, OH 43123-8895
25101 Chagrin Blvd. #220                Beachwood, Oh 44122-5656
Beachwood, OH 44122-5656
              Case 2:19-bk-52861             Doc 154 Filed 07/18/24 Entered 07/18/24 09:09:12 Desc Main
Westgate Blue Tree Owners Association,            Christine Bowen
                                                     Document     Page 52 of 52      Jose R. Villavicencio
C/O Greenspoon Marder LLP                            RE/MAX Town & Country                                PO Box 32185
201 E. Pine Street, Suite 500                        1315 Tuskawilla Rd., Suite 101                       Columbus, OH 43232-0185
Orlando Florida 32801-2718                           Winter Springs, FL 32708-5059


Mark Jay Bamberger                                   Myron N Terlecky                                     Verna Coward
The Mark Bamberger Co., LLC                          575 S Third Street                                   c/o Brian Green
PO Box 189                                           Columbus, OH 43215-5755                              25101 Chagrin Blvd. #220
Spring Valley, OH 45370-0189                                                                              Beachwood, OH 44122-5656




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


American Electric Power                              Attorney General - Rev Rec                           Bank of America
Attn Bankruptcy                                      ATTN: Bankruptcy Staff                               Billing Inquiries
1 AEP Way                                            150 E. Gay Street, 21st Floor                        PO Box 982236
Hurricane, WV 25526-1231                             Columbus, OH 43215                                   El Paso, TX 79998-2236


Columbia Gas                                         Nationstar Mortgage LLC
290 W. Nationwide Blvd. 5th Flr                      Attn Bankruptcy Department
Bankruptcy Department                                PO Box 619096
Columbus, OH 43215-4157                              Dallas, TX 75261-9741




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)TLOA Acquisitions, LLC                            (u)Tax Ease Ohio, LLC                                End of Label Matrix
                                                                                                          Mailable recipients      35
                                                                                                          Bypassed recipients       2
                                                                                                          Total                    37
